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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     MARCO ANTONIO GRANADOS
 6

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 9

10
                                                    ) Case No.:1:13-CR-00411 AWI-BAM
     UNITED STATES OF AMERICA,                      )
11
                                                    )
                   Plaintiff,                       )
12
                                                    ) STIPULATION AND ORDER TO
           vs.                                      ) CONTINUE STATUS CONFERENCE
13
     MARCOS ANTONIO GRANADOS                        )
     LUIS FERNANDO GRANADOS,                        )
14
                                                    )
                   Defendant                        )
15
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16
     BARBARA A. MCAULIFFE AND BRIAN DELANEY, ASSISTANT UNITED STATES
17
     ATTORNEY:
18
            COMES NOW Defendants, MARCOS ANTONIO GRANADOS and LUIS
19
     FERNANDO GRANADOS, by and through their attorneys of record, hereby request that the
20
     Status Conference currently set for Tuesday, May 27, 2014 be continued to June 23, 2014.
21
            Attorney for defendant Granados is conducting negotiations to resolve this matter and are
22
     fashioning a plea agreement. I have spoken to AUSA, Brian Delaney and he has no objection to
23
     continuing the Status Conference.
24
            The parties also agree the delays resulting from the continuance shall be excluded in the
25
     interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
            Case 1:13-cr-00411-DAD-BAM Document 36 Filed 05/22/14 Page 2 of 2


 1   //

 2           IT IS SO STIPULATED.

 3                                                              Respectfully Submitted,

 4   DATED: 5/21/14                                             /s/ David A Torres          ___
                                                                DAVID A. TORRES
 5                                                              Attorney for Defendant
                                                                Marco Antonio Granados
 6

 7
     DATES: 5/21/14                                             /s/ Jerome Price___________
                                                                JEROME PRICE
 8                                                              Attorney for Defendant
                                                                Luis Fernando Granados
 9

10   DATED:5/21/14                                              /s/Brian K. Delaney______
                                                                BRIAN K. DELANEY
11                                                              Assistant U.S. Attorney
12

13
                                                ORDER
14

15
             IT IS SO ORDERED that the 2nd Status Conference for defendants Marco Antonio
16
     Granados (1) and Luis Fernando Granados (2) is continued from May 27, 2014 to June 23, 2014
17
     at 1:00 PM before Judge McAuliffe. Time is excluded in the interest of justice pursuant to 18
18
     USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
19

20   IT IS SO ORDERED.

21
          Dated:   May 22, 2014                             /s/ Barbara A. McAuliffe              _
22                                                    UNITED STATES MAGISTRATE JUDGE

23

24

25
